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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     PANGEA LEGAL SERVICES, et al.,                    Case No. 20-cv-07721-SI
                                   8                    Plaintiffs,
                                                                                           ORDER ON DEFENDNATS' MOTIONS
                                   9             v.                                        TO STAY
                                  10     U.S. DEPARTMENT OF HOMELAND                       Re: Dkt. Nos. 91, 93
                                         SECURITY, et al.,
                                  11
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          On December 23, defendants filed:

                                  14          (1) a motion to stay the Court’s November 19, 2020 order granting plaintiffs’ motion for a

                                  15   temporary restraining order, which order was later covered to a preliminary injunction per the

                                  16   parties’ agreement (see Dkt. Nos. 73 and 74) and,

                                  17          (2) a motion to stay proceedings pending defendants’ appeal of the Court’s order described

                                  18   in (1). Dkt. Nos. 91 and 93. Plaintiffs do not oppose the motion to stay proceedings pending the

                                  19   appeal so long as the preliminary injunction remains in place.

                                  20           The Court hereby GRANTS defendants’ motion to stay proceedings pending their appeal.

                                  21          Defendants’ motion to stay the preliminary injunction is DENIED.

                                  22

                                  23          IT IS SO ORDERED.

                                  24   Dated: December 28, 2020

                                  25                                                   ______________________________________
                                                                                       SUSAN ILLSTON
                                  26                                                   United States District Judge
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